19-10843      Doc 3      Filed 03/24/19    Entered 03/24/19 20:40:51         Main Document            Pg
                                               1 of 40


TOGUT, SEGAL & SEGAL LLP
One Penn Plaza
Suite 3335
New York, New York 10119
(212) 594-5000
Albert Togut
Frank A. Oswald
Kyle J. Ortiz

Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------
                                                            x
                                                            :
In re:                                                      : Chapter 11
                                                            :
AURORA COMMERCIAL CORP., et al.,                            : Case No. 19-10843 (SCC)
                                                            : (Joint Administration Pending)
                                    Debtors.1               :
                                                            :
----------------------------------------------------------- x

              DECLARATION OF BRENDA DARNELL PURSUANT
          TO LOCAL BANKRUPTCY RULE 1007-2 AND IN SUPPORT OF
       THE DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

                I, Brenda Darnell, being duly sworn, hereby depose and state as follows:

                1.       I am a Senior Vice President of Aurora Commercial Corp. and

Aurora Loan Services LLC. In that capacity, I am familiar with the operations, business,

and financial affairs of Aurora Commercial Corp. (“ACC”) and ACC’s subsidiary

Aurora Loan Services LLC (“ALS” and together, with ACC, the “Debtors”).

                2.       I submit this declaration (the “Declaration”) pursuant to Rule

1007-2 of the Local Bankruptcy Rules for the Southern District of New York (the “Local

Bankruptcy Rules”): (a) in support of the Debtors’ voluntary petitions for relief filed by

each of the Debtors under chapter 11 of title 11 of the United States Code (the

1	   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax
     identification number are as follows: Aurora Commercial Corp. (3416) and Aurora Loan Services
     LLC (7742). The Debtors’ corporate headquarters is located at 277 Park Avenue, 46th Floor, New
     York, New York 10172.
19-10843    Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51      Main Document        Pg
                                          2 of 40


“Bankruptcy Code”); (b) to explain to the United States Bankruptcy Court for the

Southern District of New York (the “Bankruptcy Court”) and other interested parties

the circumstances that led the Debtors to seek relief under Chapter 11; and (c) in

support of the motions and applications for relief filed concurrently herewith and

discussed herein (collectively, the “First Day Motions”).

              3.     I have served as the Senior Vice President of ACC or its

predecessor since December 2011, and of ALS from 2002 through 2008, and then again

since December 2011. I began working at ALS in May 1998, and I have a total of over 17

years of experience working for the Debtors.

              4.     I have reviewed the First Day Motions or otherwise had their

contents explained to me and, to the best of my knowledge as I have been able to

ascertain after reasonable inquiry, I believe that approval of the relief requested therein

is necessary to permit an effective transition into Chapter 11 and provide the best

opportunity for a cost effective and timely resolution of the claims described below and

the pending litigations in which the Debtors are a party.

              5.     Except as otherwise indicated, the facts set forth in this Declaration

are based upon my personal knowledge of the Debtors’ business operations, my review

of relevant documents, information provided to me, and/or my opinion based upon my

experience, knowledge and information concerning the Debtors’ operations and

financials. Unless otherwise indicated, the financial information contained in this

Declaration is unaudited and subject to change.

              6.     I am authorized to submit this Declaration on behalf of the Debtors,

and, if called upon to testify, I could and would testify competently to the facts set forth

herein.



                                             2
19-10843    Doc 3    Filed 03/24/19    Entered 03/24/19 20:40:51      Main Document          Pg
                                           3 of 40


              7.     This Declaration is divided into three parts. Part I provides an

overview of the Debtors’ business and operations, and the circumstances leading to the

commencement of these chapter 11 cases. Part II sets forth the relevant facts in support

of each of the Debtors’ First Day Pleadings. Part III provides the information required

by Local Bankruptcy Rule 1007-2.

                              PRELIMINARY STATEMENT

              8.     The Debtors are indirect wholly owned subsidiaries of Lehman

Brothers Holdings Inc. (“LBHI”). On December 6, 2011, the Honorable (ret.) James M.

Peck entered an order confirming a chapter 11 plan resolving the Lehman bankruptcy

cases (the “Lehman Plan”). Under the Lehman Plan, LBHI was appointed the Plan

Administrator for the Lehman estates and authorized and directed to wind-down those

estates and distribute available cash to creditors in accordance with the cash waterfalls

set out in the Lehman Plan. Since the effective date of the Lehman Plan, the Plan

Administrator has resolved nearly $109 billion of disputed claims, distributed nearly

$127 billion of cash, and dissolved thousands of debtor and non-debtor controlled

affiliates. Just 164 entities remain, 156 non-debtors and 8 entities that are currently

debtors in chapter 11 proceedings. The primary purpose of this chapter 11 proceeding

is to allow the Debtors to expeditiously resolve outstanding claims against the Debtors,

distribute the remaining cash to their creditors, and ultimately dissolve the Debtors.

              9.     Prior to LBHI’s bankruptcy, Debtor ACC was a federal savings

bank (formerly known as Aurora Bank FSB (“AB”)), which along with its subsidiary,

ALS, engaged primarily in the origination, underwriting, purchase, sale, and servicing

of residential mortgage loans. By 2012, the Debtors had ceased all mortgage loan

related operations and had sold all of their material assets to unaffiliated entities in a

series of sales. In mid-2013, ACC, which at that time was AB, relinquished its bank

                                              3
19-10843       Doc 3   Filed 03/24/19   Entered 03/24/19 20:40:51     Main Document          Pg
                                            4 of 40


charter and continued to be dedicated solely to winding down its operations and the

operations of its subsidiary, ALS.

                10.    With the assistance of their indirect parent, LBHI, (and the Plan

Administrator), the Debtors have wound down their estates through the consensual

resolution of claims asserted against the Debtors or, when settlement efforts failed, by

litigating those matters to conclusion.

                11.    As of February 28, 2019, the Debtors have approximately $74

million in assets consisting of approximately $4.6 million in cash and $69 million in

receivables.

                12.    There are currently a number of lawsuits in which the Debtors are

named parties that must be resolved before the Plan Administrator can complete the

wind down and dissolution of the Debtors. The Debtors have attempted to resolve

these lawsuits expeditiously, but have concluded that continued efforts to resolve them

could take years and require the expenditure of considerable resources. The Debtors

believe that these chapter 11 cases will facilitate the efficient and timely resolution of the

pending lawsuits.

                13.    In addition, the Debtors have been made aware of certain

contingent and unliquidated liabilities, including an intercompany indemnification

claim against the Debtors asserted by LBHI (the “LBHI Claim”). LBHI asserts that the

LBHI Claim arises from mortgages sold by the Debtors to LBHI, and is based on related

liabilities arising from those mortgages subsequently incurred by LBHI. The Debtors

will independently consider the validity and appropriate size of the LBHI Claim, and

seek to resolve the LBHI Claim during these cases.

                14.    Thus, the Debtors have commenced these chapter 11 cases to take

the necessary steps to expedite the efficient resolution of the litigation claims asserted

                                              4
19-10843    Doc 3   Filed 03/24/19    Entered 03/24/19 20:40:51     Main Document          Pg
                                          5 of 40


against the Debtors in a forum that will conserve estate resources and maximize

distributable value for their stakeholders.

              15.    In contemplation of these chapter 11 cases, Jan (D.J.) Baker was

appointed to serve as an independent director of both Debtors (the “Independent

Director” or “Mr. Baker”). Mr. Baker was previously the Global Co-Chair of the

Corporate Restructuring Practice Group at Latham & Watkins, LLP. While he practiced

as a restructuring lawyer, Mr. Baker advised management and boards with respect to

core restructuring issues, and with regard to fiduciary duty and corporate governance

questions. During his legal career, Mr. Baker has represented over 150 private and

public companies. Among other things, the Independent Director will work with the

Debtors and LBHI to reconcile and resolve the LBHI Claim in accordance with

applicable law. The Debtors expect to file a chapter 11 plan pursuant to which they will

complete the wind down of their businesses.

  I.   SDNY LBR 1007-2(A)(1) NATURE OF DEBTORS’ BUSINESS AND
       CIRCUMSTANCES LEADING TO CHAPTER 11 FILING

           A. The Chapter 11 Filings

              16.    On the date hereof (the “Petition Date”), both of the Debtors filed

voluntary petitions in the Bankruptcy Court under chapter 11 of the Bankruptcy Code.

The Debtors will continue to manage and operate their businesses as debtors in

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. The Debtors

have requested joint administration of these chapter 11 cases by motion filed

concurrently herewith. No trustee or examiner has been appointed in these cases.




                                              5
19-10843     Doc 3     Filed 03/24/19      Entered 03/24/19 20:40:51         Main Document          Pg
                                               6 of 40


           B. The Debtors

                     i. Prior to the LBHI Cases

               17.      Debtor ALS was originally incorporated in 1997 with its

headquarters in Littleton, Colorado, as a subsidiary of ALS Holdings Inc. ALS

Holdings Inc. was a subsidiary of Lehman Brothers Bank FSB (“LBB”), a federally

chartered federal savings bank, which itself was a subsidiary of LBHI. After ALS

Holdings Inc.’s dissolution in 2004, ALS became a direct subsidiary of LBB and has

operated as a limited liability company known as Aurora Loan Services LLC since 2005.

               18.      From 1997 to 2007, ALS generally serviced mortgage loans that

were originated or acquired by its parent company, LBB (aka Debtor ACC). LBB

acquired these loans from a network of brokers and correspondents and sold them to its

parent, LBHI.

               19.      In early 2008, ALS terminated its correspondent network activities

because of declining market conditions, but continued its loan servicing business.

               20.      As a consequence of the LBHI Bankruptcy, LBB established a stand-

alone operation, and on April 24, 2009, LBB changed its name to AB. After mid-2011,

AB’s business was primarily servicing loans.

               21.      During 2012, AB’s and ALS’s portfolios were sold to several

unaffiliated entities. The largest of these transactions was the sale of the residential

servicing business, which included both primary and master servicing rights, to

Nationstar Morgtage, LLC, on June 12, 2012.2


2
    The Debtors’ remaining assets were also sold more than six (6) years ago as follows: On March 30,
    2012, Aurora Bank FSB sold certain residential mortgage whole loans and real estate acquired
    through foreclosure proceedings (“REO”) to Selene Finance LP, as purchaser, and Selene Residential
    Mortgage Opporunity Fund II L.P., as guarantor. On March 30, 2012, Dawn LLC purchased
    commerical loans and REO. On May 3, 2012, Waterfall purchased the Debtors’ reverse mortgage
    loans. On May 31, 2012, Ocwen Loan Servicing, LLC, purchased commerical mortgage servicing
    rights, and Roosevelt Mortgage Acquisition Co., and Roosevelt Depositor, LLC purchased certain

                                                   6
19-10843    Doc 3      Filed 03/24/19     Entered 03/24/19 20:40:51    Main Document         Pg
                                              7 of 40


              22.      Following the asset sales, ALS and AB stopped all mortgage

activities, and focused on winding down their operations. On June 5, 2013, AB

relinquished its bank charter, and merged into ACC. Following the merger, ALS

became a wholly owned subsidiary of ACC. A timeline outlining the Debtors’ history is

attached hereto as Exhibit A. Both ALS and ACC are currently winding down, and

since 2012, neither has been involved in the origination, underwriting, purchase, sale, or

servicing of mortgage loans.

              23.      Following the asset sales, the Debtors began to wind down their

businesses, and incurred significant expenses including, severance payments to former

employees, and legal expenses to resolve hundreds of outstanding claims against the

Debtors. During the wind down, the Debtors also entered into various settlements with

regulatory agencies, companies, and individuals relating to pre-petition conduct, many

of which were confidential. Additionally, over the past six years, the Debtors have

continued to fund their operations, and entered into the LBHI Loan, leaving assets of

approximately $74 million, including approximately $4.6 million in cash as of February

28, 2019.

                    ii. Post LBHI Cases

              24.      The Lehman Plan became effective on March 6, 2012 (the “LBHI

Effective Date”). Pursuant to section 6.1 of the Lehman Plan, LBHI became the Plan

Administrator, authorized to “exercise its reasonable business judgment to direct and

control the wind down, liquidation, sale and/or abandoning of the assets of the [LBHI]

Debtors and/or [LBHI] Debtor Controlled Entities under the Plan and in accordance


   non-performing residential mortgage loans and REO. On June 28, 2012, New York Community Bank
   purchased the deposits. On September 28, 2012, Northeast Bank purchased the SBA Whole Loans,
   SBA Unguaranteed Interest Loans and HUD/USDA loans. On October 19, 2012, Newtek Small
   Business Finance, Inc. purchased the securitized commercial mortgage servicing rights.



                                                7
19-10843     Doc 3   Filed 03/24/19   Entered 03/24/19 20:40:51      Main Document       Pg
                                          8 of 40


with applicable law as necessary to maximize Distributions to holders of Allowed

Claims against the [LBHI Debtors].”

               25.   The Debtors have been winding down their operations outside of

bankruptcy court supervision since the sale of their material assets in 2012.

               26.   During the wind-down, the Debtors have been involved in

hundreds of lawsuits, most of which relate to the Debtors’ origination and servicing of

loans business, and although many of these cases were settled in advance of the Petition

Date, a number are still pending.

            C. Organizational Structure

               27.   A corporate organization chart is attached hereto as Exhibit B. As

reflected in that chart, LBHI is the sole stockholder of Lehman Brothers Bancorp, Inc.

(“LBBI”), which is the sole stockholder of ACC. ALS is a wholly owned subsidiary of

ACC.

               28.   As discussed below, since October 1, 2013, ACC has operated

pursuant to the Services Agreement (defined below), between ACC and LBHI.

Additionally, ACC funds ALS’s operations.

            D. Services Agreement

               29.    All of the Debtors’ back office, corporate, legal, and financial

operations are provided to the Debtors by LBHI pursuant to the Amended and Restated

Intercompany Services Agreement, which was effective as of October 1, 2013, and

amended on November 11, 2014 and amended again on October 1, 2017 (collectively,

the “Services Agreement”). The Services Agreement automatically renews each year

unless a party to the agreement provides 30 days notice of their intent to cancel the

agreement. The Services Agreement is scheduled to automatically renew on November

11, 2019.

                                             8
19-10843    Doc 3    Filed 03/24/19    Entered 03/24/19 20:40:51     Main Document        Pg
                                           9 of 40


              30.    As outlined in the Services Agreement, the services LBHI provides

to the Debtors include, legal and claim support, finance and accounts payable functions,

human resource services, information technology services, insurance risk management,

and executive management support. The services the Debtors provide to LBHI include,

researching claims relating to loans, research relating to active and potential litigations,

and special projects that are requested by LBHI from time to time.

              31.    The Services Agreement also includes a schedule that sets out the

fees for the services provided under the Services Agreement. The fees under the

Services Agreement will decrease as a result of these chapter 11 cases. Additionally,

certain of the remaining activities performed under the Services Agreement have

concluded in recent months eliminating certain of the expenses under the Services

Agreement. Accordingly, the Debtors and LBHI are in the process of amending the

Services Agreement, and plan to enter into a stipulation and proposed order, which will

be presented to the Court, affirming that LBHI will continue to honor and perform

under the as amended Services Agreement during these cases.

           E. LBHI Loan

              32.    On September 30, 2015, ACC and LBHI entered into a promissory

note (the “Promissory Note”) and collateral agreement (the “LBHI Loan”), pursuant to

which ACC agreed to lend $75 million (the “Principal Amount”) to LBHI until February

29, 2016 (the “Maturity Date”), which was extended to March 31, 2016. The Principal

Amount of the LBHI Loan was modified to $69 million pursuant to the second

amendment, which was executed by ACC and LBHI on April 1, 2016. ACC and LBHI

have executed nine additional amendments to the LBHI Loan, the most recent of which

extended the Maturity Date to October 7, 2019.



                                             9
19-10843     Doc 3      Filed 03/24/19      Entered 03/24/19 20:40:51          Main Document          Pg
                                               10 of 40


                33.     The applicable interest rate on the LBHI Loan is 1.25% per annum,3

payable on demand of ACC, or on the Maturity Date. The Promissory Note provides

that upon the occurrence and continuance of a default event, the unpaid Principal

Amount shall bear interest at a rate that is 5.0% per annum in excess of the interest rate

that is otherwise payable.

                34.     LBHI’s obligations under the LBHI Loan are secured by a

continuing security interest in and lien upon nearly all of LBHI’s assets.

            F. Overview of Assets and Liabilities

                35.     As of February 28, 2019, ACC’s assets consist of cash and short

term investments in the amount of approximately $4.6 million, and approximately $92

million due from affiliates post-petition, which is related to the LBHI Loan, and the

intercompany receivable due from ALS of approximately $23 million, which was

generated from ACC’s funding of ALS’s operations.4

                36.     ACC’s liabilities consist primarily of the LBHI Claim, but as of

February 28, 2019, the liabilities on ACC’s balance sheet are zero. The Debtors also have

potential liabilities as described below in Section G.

                37.     As of February 28, 2019, ALS’s assets consist of approximately

$66,000 in cash, and ALS’s liabilities consist of an intercompany payable in the amount

of approximately $23 million due to its affiliate, ACC.



3
    Pursuant to the fifth amendment, which was executed by ACC and LBHI on October 4, 2017, the
    applicable interest rate on the LBHI Loan was modified to provide that “interest shall accrue on the
    outstanding Principal amount at a rate per annum equal to the rate of interest earned by the Obligor
    [LBHI] on the investments of its disputed claim reserves for its disputed claims….[as defined in the
    LBHI Plan], determined quarterly on the last day of each calendar quarter plus 0.50% per annum.”

4
    ACC does not expect to collect on the receivable due from ALS, and accordingly, ACC’s assets net to
    approximately $74 million.



                                                   10
19-10843    Doc 3    Filed 03/24/19    Entered 03/24/19 20:40:51      Main Document         Pg
                                          11 of 40


           G. U.S. Bank Notices

              38.    On August 23, 2016, U.S Bank N.A. (“U.S. Bank”), as trustee for

residential mortgage-backed securities (“RMBS”), delivered a total of 286 notices to

several Lehman entities, including LBB and LBHI, regarding potential indemnification

and contribution claims resulting from litigation that U.S. Bank is defending on 138

LBHI issued RMBS deals that were serviced by ALS. U.S. Bank did not send these

notices to ALS, but in August 2018, U.S. Bank sent similar notices to ALS, regarding

potential indemnification and contribution claims, and stating that U.S. Bank is a party

to 18 actions that could give rise to these potential claims. During these chapter 11

cases, the Debtors and their professionals will evaluate and analyze these notices and

any potential claims that ultimately arise from them.

 II.   THE DEBTORS’ BANKRUPTCY OBJECTIVES

              39.    The objective of the Debtors in these chapter 11 cases is to facilitate

the efficient resolution of the claims and pending litigations involving the Debtors so

that these entities can be wound down and dissolved.

              40.    In furtherance of this goal, the Debtors will file a bar date motion

substantially contemporaneously herewith. The Debtors, their Independent Director,

and their professionals intend to evaluate all of the claims that are filed prior to the bar

date, continue to invest in and maximize the value of the Debtors’ assets, and pay all or

a portion of allowed claims. The fundamental dual purposes of chapter 11, to maximize

value, and treat creditors appropriately, will be fulfilled.

III.   FIRST DAY MOTIONS

              41.    Contemporaneously with the filing of this Declaration, the Debtors

filed First Day Motions, and, at the “first day” hearing, will seek orders granting

various forms of relief.

                                             11
19-10843    Doc 3    Filed 03/24/19     Entered 03/24/19 20:40:51      Main Document        Pg
                                           12 of 40


              42.     I have reviewed each of the First Day Motions or have otherwise

had their contents explained to me, including the exhibits thereto, and I believe that the

relief sought in each of the First Day Motions is narrowly tailored to meet the goals

described above, and ultimately, will be critical to each Debtor’s ability to maximize the

value of its assets for its stakeholders.

           A. Administrative Pleadings

              43.     Joint Administration. The Debtors request entry of an order

directing joint administration of their chapter 11 cases for procedural purposes only

pursuant to Bankruptcy Rule 1015(b). Specifically, the Debtors request that the

Bankruptcy Court maintain one file and one docket for each of the chapter 11 cases

under the case of ACC. Further, the Debtors request that an entry be made on the

docket of ALS, to indicate the joint administration of the chapter 11 cases.

              44.     Given the integrated nature of the Debtors’ operations, joint

administration of the chapter 11 cases will provide significant administrative

convenience without harming the substantive rights of any party in interest. Many of

the motions, hearings, and orders that will be filed in the chapter 11 cases will almost

certainly affect both of the Debtors. The entry of an order directing joint administration

of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings and

objections and will allow the U.S. Trustee and all parties in interest to monitor the

chapter 11 cases with greater ease and efficiency. I believe that the relief requested in

the Joint Administration Motion is in the best interests of the Debtors’ estates, their

creditors, and all other parties in interest and will enable the Debtors to continue to

operate their businesses in Chapter 11 with the greatest efficiency.

              45.     Accordingly, on behalf of the Debtors, I respectfully submit that the

Joint Administration Motion should be approved.

                                             12
19-10843    Doc 3        Filed 03/24/19   Entered 03/24/19 20:40:51     Main Document       Pg
                                             13 of 40


           B. Operations Motion

            i.         Debtors’ Motion for Interim and Final Orders (I) Authorizing
                       Continued Use of Existing Cash Management Practices, Bank
                       Accounts, and Business Forms; and (II) Authorizing the Continuance
                       of Intercompany Transactions (the “Cash Management Motion”).

                 46.      Under the Cash Management Motion, the Debtors request the entry

of interim and final orders (a) authorizing, but not directing, the Debtors to continue

using their existing cash management practices, bank accounts, and business forms;

and (b) authorizing the continuance of intercompany transactions.

                 47.      The Debtors utilize ordinary cash management practices (the “Cash

Management Practices”) that help control and monitor receipts and disbursements. The

Cash Management Practices and applicable procedures employed by the Debtors

constitute customary and essential business practices. I believe that it would be unduly

difficult and expensive for the Debtors to establish new cash management practices. I

believe that allowing the existing Cash Management Practices to remain in place will

facilitate a smoother transition into Chapter 11.

                 48.      I believe that if the Debtors were required to comply with the

guidelines of the U.S. Trustee, the burden of opening new bank accounts, revising Cash

Management Practices, and immediately ordering new checks and business forms with

a “Debtor in Possession” legend would disrupt the Debtors’ business operations, and

impose burdensome expenses on the estates.

                 49.      In the ordinary course of business, ACC pays ALS’s obligations,

which include legal and professional fee payments (the “Intercompany Transactions”).

The Intercompany Transactions facilitate the Debtors’ day-to-day operations and help

preserve the value of the Debtors’ primary assets.




                                                13
19-10843    Doc 3         Filed 03/24/19    Entered 03/24/19 20:40:51      Main Document         Pg
                                               14 of 40


                  50.      I believe that the relief requested in the Cash Management Motion

is in the best interests of the Debtors’ estates creditors, and all other parties in interest,

and will make the Debtors’ transition into chapter 11 smoother, less costly, and more

orderly. Accordingly, on behalf of the Debtors, I respectfully submit that the Cash

Management Motion should be approved.

           C. Retention-Related Motions

             i.         Debtors Application to Employ Prime Clerk, LLC as Claims and
                        Noticing Agent (the “Prime Clerk Retention Application”)

                  51.      The Debtors seek to retain Prime Clerk, LLC (“Prime Clerk”) as

notice, claims, and administrative agent. I believe that by retaining Prime Clerk in the

chapter 11 cases, the Debtors’ estate, and particularly its creditors, will benefit from

Prime Clerk’s service. Prime Clerk has developed efficient and cost-effective methods

in its area of expertise. I am of the opinion that Prime Clerk is fully equipped to handle

the volume of mailing involved and properly sending the required notices to creditors

and other interested parties in the chapter 11 cases, and therefore, respectfully submit

that the Prime Clerk Retention Application should be approved.

            ii.         Other Retention Motions

                  52.      The Debtors will be filing additional motions seeking to, inter alia,

retain Togut, Segal & Segal LLP, as its bankruptcy counsel.

                  53.      The Debtors will also be filing a motion to retain professionals in

the ordinary course of business whose services are not directly related to the chapter 11

cases, but whose services are required during the chapter 11 cases.

IV.    ADDITIONAL DISCLOSURES REQUIRED UNDER LOCAL RULE 1007-2

                  54.      Local Bankruptcy Rule 1007-2 requires that the Debtors provide

certain information, which is set forth below.


                                                  14
19-10843    Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51      Main Document        Pg
                                         15 of 40


              55.    Local Bankruptcy Rule 1007-2(a)(2) is not applicable to the Debtors

chapter 11 cases because they were not originally commenced as a Chapter 7, Chapter

12, or Chapter 13 case.

              56.    As required under Local Bankruptcy Rule 1007-2(a)(3), Exhibit C

lists the names and addresses of the members of, and attorneys for, any committee

organized prior to the Petition Date and a brief description of the circumstances

surrounding the formation of the committee and the date of its formation.

              57.    As required under Local Bankruptcy Rule 1007-2(a)(4), Exhibit D

lists the following information with respect to each of the holders of the Debtors' twenty

20 largest unsecured claims on a consolidated basis, excluding claims of insiders: the

creditor's name, address (including the number, street, apartment or suite number, and

zip code, if not included in the post office address), telephone number, the name(s) of

person(s) familiar with the Debtors' accounts, the amount of the claim, and an

indication of whether the claim is contingent, unliquidated, disputed or partially

secured. In each case, the claim amounts listed on Exhibit D are estimated and subject

to verification. In addition, the Debtors reserve their rights to assert remedies, defenses,

counterclaims, and offsets with respect to each claim.

              58.    As required under Local Bankruptcy Rule 1007-2(a)(5), Exhibit E

lists the holders of the five largest secured claims against each Debtor. As of the

Petition Date, to the best of the Debtors’ knowledge and belief, there are no secured

claims against either Debtor.

              59.    As required under Local Bankruptcy Rule 1007-2(a)(6), Exhibit F

provides a summary of the unaudited assets and liabilities for the Debtors.

              60.    As required under Local Bankruptcy Rule 1007-2(a)(7), Exhibit G

provides the following information: the number and classes of shares of stock,

                                            15
19-10843    Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51      Main Document          Pg
                                         16 of 40


debentures, and other securities of the Debtors that are publicly held and the number of

record holders thereof; and the number and classes of shares of stock, debentures, and

other securities of the Debtors that are held by the Debtors’ directors and officers, and

the amounts so held.

               61.   As required under Local Bankruptcy Rule 1007-2(a)(8), Exhibit H

provides a list of all of the Debtors’ property in the possession or custody of any

custodian, public officer, mortgagee, pledgee, assignee of rents, secured creditor, or

agent for any such entity, giving the name, address, and telephone number of each such

entity and the location of the court in which any proceeding relating thereto is pending.

               62.   As required under Local Bankruptcy Rule 1007-2(a)(9), Exhibit I

provides a list of the premises owned, leased, or held under other arrangement from

which the Debtors operate their business.

               63.   As required under Local Bankruptcy Rule 1007-2(a)(10), Exhibit J

provides the location of the Debtors' substantial assets, and the location of their books

and records.

               64.   As required under Local Bankruptcy Rule 1007-2(a)(11), Exhibit K

provides a list of actions against the Debtors.

               65.   As required under Local Bankruptcy Rule 1007-2(a)(12), Exhibit L

provides a list of the names of the individuals who comprise the Debtors' existing

senior management, their tenure with the Debtors, and a brief summary of their

relevant responsibilities and experience.

               66.   As required under Local Bankruptcy Rule 1007-2(b)(1)-(2),

Exhibit M provides the estimated amount to be paid to the Debtors' employees (not

including officers, directors, and stockholders), the estimated amount, on a consolidated

basis, to be paid to the Debtors’ officers, stockholders, directors, and financial and

                                             16
19-10843    Doc 3   Filed 03/24/19    Entered 03/24/19 20:40:51      Main Document       Pg
                                         17 of 40


business consultants retained by the Debtors for the thirty (30) day period following the

Petition Date.

              67.    As required under Local Bankruptcy Rule 1007-2(b)(3), Exhibit N

sets forth, for the thirty (30) day period following the Petition Date, estimated cash

receipts and disbursements, net cash gain or loss, obligations and receivables expected

to accrue but remaining unpaid, other than professional fees, and other information

relevant to the foregoing.

              68.    Copies of the resolutions authorizing the filing of the Debtors’

Chapter 11 petitions are annexed thereto.



                             [Concludes on Following Page]




                                            17
19-10843    Doc 3   Filed 03/24/19   Entered 03/24/19 20:40:51     Main Document        Pg
                                        18 of 40




 V.      CONCLUSION

             69.    The Debtors plan to file their schedules and a bar date motion

substantially contemporaneously with the filing of this Declaration, take steps to reach a

settlement with LBHI of all claims between the Debtors and LBHI, propose a plan that

provides for a distribution to all remaining creditors, and conclude the orderly wind

down of these estates.

I swear under penalty of perjury that the foregoing is true and correct.

Dated:     New York, New York
           March 24, 2019



                                                 By: /s/ Brenda Darnell
                                                     Name: Brenda Darnell
                                                     Title: Senior Vice President




                                            18
               19-10843      Doc 3     Filed 03/24/19    Entered 03/24/19 20:40:51        Main Document        Pg
                                                            19 of 40



                                                             Exhibit A

                                                     ACC and ALS Timeline




ACC                        LBB                                 Aurora Bank                                    ACC

      ALS incorporated      ALS Holdings, Inc.   LBHI commences      Assets of Aurora     Aurora Bank               ACC and ALS
      as a subsidiary of    dissolves and ALS    LBHI Cases on       Bank and ALS sold    relinquishes its          file for chapter
      ALS Holdings,         becomes a direct     September 15,       in a number of       bank charter, and         11 protection
      Inc., which is a      subsidiary of LBB.   2008. LBB           unaffiliated         merges into ACC.          on the Petition
      subsidiary of LBB,                         establishes stand   transactions. LBHI                             Date.
      which itself is a                          alone operations    emerges from
      subsidiary of                              and changes its     bankruptcy on
      LBHI.                                      name to Aurora      March 6, 2012.
                                                 Bank.



          Subsidiary !
ALS                          Subsidiary of LBB          Subsidiary of Aurora Bank                     Subsidiary of ACC
       of ALS Holdings
19-10843   Doc 3   Filed 03/24/19   Entered 03/24/19 20:40:51   Main Document   Pg
                                       20 of 40
                                        Exhibit B

                             Corporate Organization Chart




                       Lehman Brothers Holdings,
                                 Inc.

                                              100%


                       Lehman Brothers Bancorp.,
                                 Inc.


                                              100%



                        Aurora Commercial Corp.



                                              100%



                        Aurora Loan Services LLC
19-10843   Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51    Main Document       Pg
                                        21 of 40


                                       Exhibit C

                                      Committees

              Pursuant to Local Rule 1007-2(a)(3), to the best of the Debtors’ knowledge
and belief, no committee has been organized prior to the Petition Date.
                    19-10843      Doc 3    Filed 03/24/19    Entered 03/24/19 20:40:51   Main Document         Pg
                                                                22 of 40


                                                               Exhibit D

                          Consolidated List of Twenty (20) Largest Unsecured Claims (Excluding Insiders)

             Pursuant to Local Rule 1007-2(b)(4), the following is a list of creditors holding the twenty (20) largest
unsecured claims against the Debtors, on a consolidated basis, excluding claims of insiders as defined in 11 U.S.C. § 101.

                                                                                                        Indicate if
                                                                                                          claim is
                                                                             Nature of the Claim       Contingent,      Amount of
                                                                            (e.g. trade debts, bank    Unliquidated     unsecured
                                                                              loans, professional     and Disputed,     claim as of
                                                                                  services, and       or disputed, or       the
                                            Contact, Mailing Address,
                                                                                  government             partially        Petition
               Creditor                   Telephone/Fax Number, Email
                                                                                    contracts)            secured          Date
Agha-Khan, M.D., Salma               Agha-Khan, M.D., Salma                 Litigation                Contingent,              $0.00
                                     3751 Motor Ave. #34727                                           Unliquidated
                                     Los Angeles, CA 90032                                            and Disputed
                                     Phone: 949-332-0330
                                     Fax:
                                     Email: salmahagha@aol.com
Brown, Larry                         c/o Brian J Jacobs                     Litigation                Contingent,             $0.00
                                     6464 Woodman Avenue, Suite 103                                   Unliquidated
                                     Van Nuys, CA 91401                                               and Disputed
                                     Phone: 310-770-6874
                                     Fax: 310-858-6489
                                     Email:
Heron, James                         c/o Talcott Franklin, P.C.             Litigation                Contingent,             $0.00
                                     Attn: Shannon Conway                                             Unliquidated
                                     1920 McKinley Ave, 7th Floor                                     and Disputed
                                     Dallas, TX 75201
                                     Phone: (214) 736-8730
                                     Fax:
                                     Email: sonway@talcottfranklin.com,
                                     tal@talcottfranklin.com
                   19-10843        Doc 3    Filed 03/24/19     Entered 03/24/19 20:40:51   Main Document         Pg
                                                                  23 of 40


                                                                                                          Indicate if
                                                                                                            claim is
                                                                               Nature of the Claim       Contingent,      Amount of
                                                                              (e.g. trade debts, bank    Unliquidated     unsecured
                                                                                loans, professional     and Disputed,     claim as of
                                                                                    services, and       or disputed, or       the
                                             Contact, Mailing Address,
                                                                                    government             partially        Petition
             Creditor                      Telephone/Fax Number, Email
                                                                                      contracts)            secured          Date
McNichol, Duane E.                    c/o Sulaiman Law Group, Ltd.            Litigation                Contingent,              $0.00
                                      Attn: Alexander Taylor                                            Unliquidated
                                      2500 S. Highland Ave, Suite 200                                   and Disputed
                                      Lombard, IL 60148
                                      Phone: 630-967-8789
                                      Fax:
                                      Email: ataylor@sulaimanlaw.com
Mortgage Electronic Registration      c/o Law Offices of Scott J. Oh, LLC     Litigation                Contingent,             $0.00
Systems, Inc.                         Attn: Scott J. Oh                                                 Unliquidated
                                      2454 E. Dempster Ste 310                                          and Disputed
                                      Des Plaines, IL 60016-5319
                                      Phone: (773) 931-6630
                                      Fax: (847) 789-9401
                                      Email: sjo@sjolaw.com
Mutambo, Davies and Susan             c/o Law Offices of Scott J. Oh, LLC     Litigation                Contingent,             $0.00
                                      Attn: Scott J. Oh                                                 Unliquidated
                                      2454 E. Dempster Ste 310                                          and Disputed
                                      Des Plaines, IL 60016-5319
                                      Phone: (773) 931-6630
                                      Fax: (847) 789-9401
                                      Email: sjo@sjolaw.com
Nationstar Mortgage LLC               Attn: Tony Villani, General Counsel     Indemnification           Contingent,             $0.00
                                      8950 Cypress Waters Blvd.                                         Unliquidated
                                      Coppell, TX 75019                                                 and Disputed
                                      Phone: (972) 428-1600
                                      Fax: (956) 428-1601
                                      Email:




                                                                      2
                  19-10843   Doc 3    Filed 03/24/19    Entered 03/24/19 20:40:51   Main Document         Pg
                                                           24 of 40


                                                                                                   Indicate if
                                                                                                     claim is
                                                                        Nature of the Claim       Contingent,      Amount of
                                                                       (e.g. trade debts, bank    Unliquidated     unsecured
                                                                         loans, professional     and Disputed,     claim as of
                                                                             services, and       or disputed, or       the
                                       Contact, Mailing Address,
                                                                             government             partially        Petition
            Creditor                 Telephone/Fax Number, Email
                                                                               contracts)            secured          Date
Redmond, James                  c/o Justin M. Block, Esq               Litigation                Contingent,              $0.00
                                One Suffolk Square, Suite 500                                    Unliquidated
                                1601 Veterans Memorial Highway                                   and Disputed
                                Islandia, NY 11749
                                Phone: (631) 543-2200
                                Fax:
                                Email:
U.S. Bank, N.A.                 c/o Fein, Such & Crane, LLP            Litigation                Contingent,             $0.00
                                1400 Old Country Road, Suite C103                                Unliquidated
                                Westbury, NY 11590                                               and Disputed
                                Phone: (310) 770-6874
                                Fax: (310) 858-6489
                                Email:




                                                               3
19-10843   Doc 3   Filed 03/24/19   Entered 03/24/19 20:40:51    Main Document       Pg
                                       25 of 40


                                       Exhibit E

                     Holders of Five (5) Largest Secured Claims
                    Against the Debtors on a Consolidated Basis

            Pursuant to Local Bankruptcy Rule 1007-2(a)(5), to the best of the Debtors’
knowledge and belief, there are no liquidated secured claims against the Debtors.
           19-10843            Doc 3         Filed 03/24/19           Entered 03/24/19 20:40:51                      Main Document                 Pg
                                                                         26 of 40

                                                                           Exhibit F

                                                  Summary of the Debtors’ Assets and Liabilities

The amounts reflected below were derived by totaling the indicated amounts reflected in each Debtor’s books and records. The
following financial data shall not constitute an admission of liability by the Debtors. The Debtors reserve all rights to assert that
any debt or claim included herein is a disputed claim or debt or challenge the priority, nature, amount or status of any claim or
debt.

                                                                    Aurora Commercial Corp.
                                                         Statement of Financial Condition (Unaudited)
                                                                        February 28, 2019
                                                                         ($ in thousands)




Assets
   Cash and short-term investments                                                                                               $                          4,676
   Cash and short-term investments pledged and restricted                                                                                                     -


      Receivables and other assets                                                                                                                            -
      Due from affiliates - Post Petition                                                                                                                 92,015
   Secured Receivables from Controlled Affiliates and other assets                                                                                        92,015


   Investment in Affiliates:
      Controlled Entities - Aurora Loan Services LLC                                                                                                      (22,958)
   Total Investments in Affiliates                                                                                                                        (22,958)


Total Assets                                                                                                                     $                        73,733



Liabilities and Stockholders' Equity
   Liabilities
         Due to affiliates - Post Petition                                                                                                                        0
         Taxes and Other Payables                                                                                                                             -
   Total Liabilities                                                                                                                                              0


   Stockholders' equity
   Common stock and additional paid-in capital                                                                                                         1,496,018
   Retained earnings and other stockholders' equity                                                                                                   (1,422,284)
   Total stockholders' equity                                                                                                                             73,733


   Total liabilities and stockholders' equity                                                                                                             73,733



1. This unaudited Statement of Financial Condition as of December 31, 2017, should be read in conjunction with the Notes to the Balance Sheets, filed by
Lehman Brothers Holdings Inc. ("LBHI") with the Bankruptcy Court. Copies are available at www.lehman-docket.com. On March 6, 2012 the Debtors announced
the occurrence of the Effective Date of their Plan and emergence from Chapter 11.

2. Aurora Commerical Corp. ("ACC") is a wholly owned subsidiary of Lehman Brothers Bancorp Inc.

3. Adjustments may be required in future Statements of Financial Condition (including write-downs and write-offs) as amounts ultimately realized may vary
materially from the amount reflected on the Statement of Financial Condition due to significant costs to wind down and other potential liabilities.

4. ACC is involved in a number of judicial, regulatory and mediation proceedings and various other matters. ACC is unable at this time to determine the financial
impact of such proceedings and the impact that any potential recoveries or liabilities may have upon the Statement of Financial Condition. As more information
becomes available, ACC may record revisions, which may be material, in future Statements of Financial Condition.

5. The information contained in this statement is proprietary to ACC and should be treated as confidential information.
          19-10843            Doc 3          Filed 03/24/19           Entered 03/24/19 20:40:51                      Main Document                  Pg
                                                                         27 of 40




                                                                   Aurora Loan Services LLC
                                                         Statement of Financial Condition (Unaudited)
                                                                        February 28, 2019
                                                                         ($ in thousands)




Assets
   Cash and short-term investments                                                                                                $                            66
   Cash and short-term investments pledged and restricted                                                                                                           -


      Receivables and other assets                                                                                                                                  -
      Due from affiliates - Post Petition                                                                                                                           -
   Secured Receivables from Controlled Affiliates and other assets                                                                                                  -




Total Assets                                                                                                                      $                            66



Liabilities and Stockholders' Equity
   Liabilities
         Due to affiliates - Post Petition                                                                                        $                        23,015
         Taxes and Other Payables
   Total Liabilities                                                                                                              $                        23,015


   Stockholders' equity
   Common stock and additional paid-in capital                                                                                    $                       210,070
   Retained earnings and other stockholders' equity                                                                              $                       (233,019)
   Total stockholders' equity                                                                                                    $                        (22,949)


   Total liabilities and stockholders' equity                                                                                     $                            66



1. This unaudited Statement of Financial Condition as of December 31, 2017, should be read in conjunction with the Notes to the Balance Sheets, filed by
Lehman Brothers Holdings Inc. ("LBHI") with the Bankruptcy Court. Copies are available at www.lehman-docket.com. On March 6, 2012 the Debtors announced
the occurrence of the Effective Date of their Plan and emergence from Chapter 11.

2. Aurora Loan Services LLC ("ALS") is a wholly owned subsidiary of Aurora Commercial Corp.

3. Adjustments may be required in future Statements of Financial Condition (including write-downs and write-offs) as amounts ultimately realized may vary
materially from the amount reflected on the Statement of Financial Condition due to significant costs to wind down and other potential liabilities.

4. ALS is involved in a number of judicial, regulatory and mediation proceedings and various other matters. ALS is unable at this time to determine the financial
impact of such proceedings and the impact that any potential recoveries or liabilities may have upon the Statement of Financial Condition. As more information
becomes available, ALS may record revisions, which may be material, in future Statements of Financial Condition.

5. The information contained in this statement is proprietary to ALS and should be treated as confidential information.
19-10843   Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51    Main Document      Pg
                                        28 of 40


                                       Exhibit G

                                The Debtors’ Securities

              Pursuant to Local Rule 1007-2(a)(7), the Debtors do not have any publicly
traded stock, debentures, or securities.
19-10843    Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51    Main Document        Pg
                                         29 of 40


                                        Exhibit H

                    Debtors’ Property Not in the Debtors’ Possession

              Pursuant to Local Bankruptcy Rule 1007-2(a)(8), to the best of the Debtors’
knowledge and belief, none of the Debtors’ property is in the possession or custody of
any custodian, public officer, mortgagee, pledgee, assignee of rents, secured creditor, or
agent for such entity.
19-10843   Doc 3    Filed 03/24/19     Entered 03/24/19 20:40:51   Main Document        Pg
                                          30 of 40


                                         Exhibit I

                                     Debtors’ Premises

              Pursuant to Local Bankruptcy Rule 1007-2(a)(9), the following lists the
premises owned, leased, or held under other arrangement from which the Debtors
operate their businesses as of the Petition Date:

      Debtor/Lessee                      Address                   Type of Interest

Aurora Commercial Corp.      277 Park Avenue                Debtors are in use and
                             46th Floor                     possession of certain office
                             New York, NY 10172             space pursuant to the
                                                            Services Agreement.
19-10843    Doc 3    Filed 03/24/19     Entered 03/24/19 20:40:51    Main Document          Pg
                                           31 of 40


                                          Exhibit J

          Location of Debtors’ Substantial Assets and Books and Records,
        and Nature and Location of Debtors’ Assets Outside the United States

               Pursuant to Local Bankruptcy Rule 1007-2(a)(10), the following lists the
location of the Debtors’ substantial assets, the location of their books and records, and
the nature, location and value of any assets held by the Debtors outside the territorial
limits of the United States.

              Debtors’ Assets                                     Location

Debtors’ Substantial Assets                     The Debtors’ substantial assets are located
                                                in New York and Minnesota.

Debtors’ Assets Outside the United States       Not applicable.



                              Debtors’ Books and Records

277 Park Avenue, 46th Floor
New York, NY 10172

501 W. George Bush Pkwy, Suite 300
Richardson, TX 75080

18200 Von Karman Suite 250
Irvine, CA 92612

400 Professional Place Dr., Suite 100
Gaithersburg, MD 20879

3040 Route 22 West
Branchburg, NJ 08876

3344 Moline Dr.
Aurora, CO 80010

11333 E. 53rd Ave.
Denver, CO 80239

15505 East Hinsdale Circle
Englewood, CO 80112

8879 Fox Dr.
Thornton, CO 80260
                   19-10843       Doc 3     Filed 03/24/19      Entered 03/24/19 20:40:51          Main Document           Pg
                                                                   32 of 40


                                                                   Exhibit K

                                                  List of Actions Against the Debtors1

               Pursuant to Local Bankruptcy Rule 1007-2(a)(11), the following lists the nature and present status of each
action or proceeding, pending or threatened, against the debtor or its property where a judgment against the debtor or a
seizure of its property may be imminent.

             Case Title                     Case Number          Debtor(s)     Nature of the Case          Court or Agency’s          Status of
                                                                                                          Name and Address              Case
Brown v. Aurora Bank FSB, et al.          15CECG01171           ACC            Wrongful                  Superior Court of            Pending
                                                                               Foreclosure               California, County of
                                                                                                         Fresno

                                                                                                         1130 O Street
                                                                                                         Fresno CA 93724-
                                                                                                         0002
Brown v. Aurora Bank FSB, et al.          16CEG02223            ACC            Wrongful                  Superior Court of            Pending
                                                                               Foreclosure               California, County of
                                                                                                         Fresno

                                                                                                         1130 O Street
                                                                                                         Fresno, CA 93724-
                                                                                                         0002
United States of America ex rel.          1:17-cv-03084-        ACC;           Alleged False             D. Colo.                     Pending
James Heron v. Aurora Loan                PAB-STV               ALS            Claims Act
Services LLC, Aurora Commercial                                                violations                Alfred A. Arraj
Corp, Aurora Bank FSB et al.                                                                             Courthouse
                                                                                                         901 19th Street
                                                                                                         Denver, CO 80294


1
    This list of actions against the Debtors does not include actions that Nationstar Mortgage LLC is responsible for managing pursuant to the
    Asset Purchase Agreement dated June 12, 2012.
                  19-10843     Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51   Main Document       Pg
                                                            33 of 40


            Case Title                 Case Number       Debtor(s)   Nature of the Case    Court or Agency’s      Status of
                                                                                           Name and Address         Case
McNichol v. Aurora Bank, FSB et        1:18-CV-08351     ACC         Alleged violations   N.D Ill.                Pending
al.                                                                  of the Fair Credit
                                                                     Reporting Act        Everett McKinley
                                                                                          Dirksen United States
                                                                                          Courthouse
                                                                                          219 South Dearborn
                                                                                          Street
                                                                                          Chicago, IL 60604
U.S. Bank, N.A. v. Rutigliano et al.   01148/2008        ACC         Foreclosure rescue   County of Suffolk,      Pending
                                                                     scheme               Supreme Court of the
                                                                                          State of New York

                                                                                          1 Court Street
                                                                                          Riverhead, NY 11901
Agha-Khan v. Pacific Community         18-15202          ALS         Contested            9th Cir.                On
Mortgage, Inc., et al.                                               Foreclosure                                  appeal
                                                                                          James R. Browning
                                                                                          United States
                                                                                          Courthouse
                                                                                          95 Seventh Street
                                                                                          San Francisco, CA
                                                                                          94103

Mortgage Electronic Registration       2004-CH-1158      ALS         Contested            18th Judicial Circuit   Pending
Systems, Inc., v. Mutambo, et al.                                    Foreclosure          Court

                                                                                          505 N. County Farm
                                                                                          Road
                                                                                          Wheaton, Illinois
                                                                                          60187




                                                               2
19-10843    Doc 3   Filed 03/24/19    Entered 03/24/19 20:40:51     Main Document        Pg
                                         34 of 40


                                        Exhibit L

                             Senior Management of the Debtors

             Pursuant to Local Bankruptcy Rule 1007-2(a)(12), the following lists the
names of the individuals who comprise the Debtors’ existing senior management, their
tenure with the Debtors, and a brief summary of their relevant responsibilities and
experience.

Kristine Dickson, President and Director

       Kristine Dickson is currently the Chief Financial Officer (“CFO”) of Lehman
Brothers Holdings Inc. (“LBHI”), a role she has held since January 2016. She is the
current President of Aurora Commercial Corp. (“ACC”) and Aurora Loan Services LLC
(“ALS” and together with ACC, “Aurora”), and has served on both Aurora boards since
early 2016. Ms. Dickson’s responsibilities include management of finance, accounting
and external reporting; treasury and cash management; tax compliance; insurance risk
management; human resources; creditor relations; information-technology; facilities;
as well as the operational wind down of the Lehman estate. Ms. Dickson joined LBHI
in 2012 as Chief Administrative Officer.

       Prior to Lehman, Ms. Dickson held various finance and operations roles at Willis
Group Holdings (n/k/a Willis Towers Watson). From 2009-2012, Ms. Dickson was the
Regional Financial and Operating Officer for the Northeast Region, with over $250
million of revenue and 750 personnel, including the company’s flagship operations in
New York City. From 2006-2008, Ms. Dickson led Financial Planning & Analysis for
Willis North America and ultimately for Willis globally (based in London and Ipswich,
UK). From 2001-2006, Ms. Dickson worked on the Global Mergers & Acquisitions
Team, which focused on targeted acquisitions and operational integrations, as well as
non-core asset dispositions, in North America and Europe. Prior to Willis, Ms. Dickson
worked in Investment Banking at Salomon Smith Barney.

      Ms. Dickson holds a B.S.E. in Computer Systems Engineering from Stanford
University.

Clifford Feibus, Secretary

       Clifford Feibus, with over 30 years of public auditing and private accounting
experience, is the global controller for LBHI. In this role, he has primary responsibility
for the external financial reporting and budgeting functions. His group has also
performed in such areas as litigation support, systems migration, developing the cost
allocations model and implementing and maintaining cash controls.

       He joined Lehman Brothers in 2001 and his roles before bankruptcy included
CFO of Operations and Corporate Services, head of the balance sheet and consolidation
functions and CFO of the Private Investment Management Division which was the
distribution network to middle market institutions and high net worth individuals.

       Prior to joining Lehman, Mr. Feibus spent over 10 years as a senior audit
19-10843   Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51    Main Document      Pg
                                        35 of 40


manager at Ernst & Young working on such clients as PaineWebber, and Morgan
Stanley and Warburg Pincus private equity divisions. Mr. Feibus was the CFO for over
9 years at a hedge fund and private equity fund.

Brenda Darnell, Senior Vice President

       Brenda Darnell holds an M.B.A. from the University of Wyoming and began her
career with ALS in May 1998. From 1998-2008, Ms. Darnell’s responsibilities at various
times included management of Escrow Administration, Customer Service, Default
Management, Special Projects, Operational Controls and Reporting & Analysis. She
was instrumental in driving process improvements and implementing control
enhancements throughout servicing, a highlight of which was creating SPEED ACH,
the Company’s proprietary program for electronic payment collections, which
improved loan counselor efficiency and increased Servicing's ancillary income.

       While away from the companies from mid 2008 to late 2011, Ms. Darnell served
as an Area Director for the US Department of Agriculture, directing outreach efforts,
origination and servicing activities for loan guarantees, direct loans and grants,
delivering over $200 million in loan guarantees, direct loans and grants for lenders,
businesses, non-profits, municipalities, cooperatives and individuals, while also
managing a commercial servicing portfolio in excess of $150 million for 23 counties in
Western Nebraska.

        Ms. Darnell returned to Aurora in late 2011 to spearhead projects related to the
GSEs where she designed workflow to manage claims and GSE compensatory fees. She
led a team that assessed, negotiated and resolved claims/litigation with business
counterparties and government agencies in excess of $110 million, and concluded
relationships with business partners and government entities for residential and
commercial loan servicing to facilitate closure of the companies. She also served as a
corporate witness for depositions and trial, providing testimony on behalf of the
company on several topics ranging from individual loan history to company practice.

      Prior to joining Aurora, Ms. Darnell worked as an auto finance business manager
and cash management specialist for a commercial bank.

William Olshan, Senior Vice President

       William Olshan is the General Counsel of LBHI. Mr. Olshan’s responsibilities
include management of all legal issues affecting LBHI, the chapter 11 debtors and
controlled affiliates, including ACC and ALS. Mr. Olshan has been employed by
Lehman since 1990. He began his legal career in 1986 as an associate at Cadwalader,
Wickersham & Taft LLP and then joined Willkie Farr & Gallagher LLP as an associate in
1988. He obtained a Bachelor of Arts, magna cum laude, from the Boston University
College of Liberal Arts in 1983 and a J.D. from the Boston University Law School in
1986.




                                           2
19-10843    Doc 3   Filed 03/24/19   Entered 03/24/19 20:40:51     Main Document       Pg
                                        36 of 40


Jeffry Ciongoli, Vice President and Co-Treasurer

       Jeffry J. Ciongoli is the Managing Director-Head of Global Tax for LBHI. In his
role as Chief Tax Officer, Mr. Ciongoli is responsible for all aspects of global tax,
including Board of Director/Chief Executive Officer presentations, strategy,
compliance, tax controversy for Domestic and International (litigation and audit
defense), business unit support, budgets, accounting, planning, compensation/benefits,
technology and administration. Mr. Ciongoli managed a staff of 40+ tax professionals,
including attorneys and accountants, and is responsible for management/budget
appropriation of all service provider engagements and projects. Mr. Ciongoli is also
the lead LBHI Tax liaison/negotiator with the DOJ and IRS/Chief Counsel/Appeals
divisions. In this capacity, Mr. Ciongoli was responsible for engineering and
implementing strategies that ultimately resulted in the reduction of billions in
assessments, claims and exposure globally for numerous structured FTC, yield
enhancement and corporate transactions.

        Prior to the Lehman Brothers bankruptcy, Mr. Ciongoli served as Global Head of
the Investment Management Division of the Tax Department (“IMD Tax”), with a
collective staff of 35 US tax professionals worldwide. Concurrently, he was responsible
for every aspect of the Federal Consolidated Tax Return and the Firm’s State and Local
Taxes, including all planning and compliance. As Head of Tax Controversy Mr.
Ciongoli was responsible for both Federal and State and Local litigation and audit
defense matters. As the Global Head of IMD Tax, Mr. Ciongoli supervised all tax
related structuring, compliance, planning and administration for the Division that
included Private Equity, Asset Management and the Neuberger Berman Division. Mr.
Ciongoli was a member of the Global Tax Management Committee, which was
responsible for setting goals and development of the tax strategy for the Firm.

      During his 35 year tenure at Lehman Brothers, Mr. Ciongoli held numerous Tax
Executive roles within the Corporate Tax Department, including Global Head of Tax
Technology, CAO of Global Tax, VP-Federal, International and State Taxes and, VP-
Compensation and Benefits Taxes.

       Mr. Ciongoli began his career at Unilever-Lipton Tea Division, as a staff
accountant in their Finance Accounting Management Program. The Program provided
training in all of the key functions within the Finance Division, including Treasury, Tax,
Financial Planning and Analysis, Internal Audit and Staff Accounting.

      Mr. Ciongoli received his Bachelor of Business Administration degree in
Accounting from the Lubin School of Business at Pace University and holds a Master of
Science in Taxation from the Lubin School of Business at Pace University.

Claire Leonard, Vice President and Assistant Secretary

        Claire Leonard holds an undergraduate degree from Georgetown University and
a J.D. from the Villanova University School of Law. Ms. Leonard has been employed by
LBHI since November 2009 and has various responsibilities, including acting as an
assistant secretary of various LBHI subsidiary entities, including ACC and ALS.



                                            3
19-10843    Doc 3   Filed 03/24/19    Entered 03/24/19 20:40:51      Main Document       Pg
                                         37 of 40


Linda Klang, Vice President and Assistant Treasurer
       Linda A. Klang is a Senior Vice President-Taxes with LBHI in New York. Her
responsibilities include all aspects of state and local tax matters including audits,
compliance and tax accounting as well as planning and policy considerations. Since
joining Lehman Brothers Holdings in 2007, her broad range of experience includes a
petition for certiorari to the United States Supreme Court, audit issues in non-US tax
jurisdictions, various Federal and State partnership matters, bankruptcy claims and
entity simplification. Prior to joining Lehman Brothers, Ms. Klang was an Executive
Director with Time Warner Inc. for nineteen years. Prior to her experience with Time
Warner, Ms. Klang worked for Coopers & Lybrand in the New York Office as a member
of the State and Local Tax Group.
        Ms. Klang holds of Bachelor of Arts from Marymount Manhattan College and a
J.D. from New York Law School. She studied Accounting and Finance at Pace
University.
       Ms. Klang is admitted to the New York State bar and is a member of the New
York State Bar Association and the American Bar Association. She is currently a
Director of the New York Chapter of the Tax Executives Institute (“TEI”) and Chair of
the State and Local Tax Committee. She has served as Chapter President twice and was
the TEI Region II Vice-President for 2014-2015.
       Linda has been a speaker for the Georgetown Advanced State and Local Tax
Institute, Practicing Law Institute’s Tax Planning for Domestic & Foreign Partnerships,
LLCs & Other Strategic Alliances, Tax Executives Institute-New York Chapter, COST
(Council on State Taxation) and the Institute for Professionals in Taxation (“IPT”)
(Income Tax Symposium, Basic Income Tax School and Advanced Income Tax School).
She was named the 2009 Income Tax Instructor of the Year for IPT.
D.J. (Jan) Baker, Director
      D.J. (Jan) Baker joined Aurora as an Independent Director in March of 2019. Mr.
Baker spent his legal career practicing in all phases of both out-of-court recapitalizations
and restructurings as well as in-court-reorganization proceedings. In 2017, he retired
from Latham & Watkins LLP, where he had been Global Co-Chair of the Corporate
Restructuring Practice Group.

       As a restructuring lawyer, Mr. Baker not only advised managements and boards
with respect to core restructuring issues, but also with regard to fiduciary duty and
corporate governance questions. He has represented more than 150 different public
and private companies.

       During his legal career, Mr. Baker was regularly recognized by both legal guides
and clients as one of the most accomplished restructuring lawyers in the country. The
Legal 500 US Guide described him as providing “untiring counsel and expertise” and as
being “particularly effective in sharing his invaluable judgment and providing a calm
hand.” Named by Chambers USA as a “key individual” among all U.S. restructuring
lawyers, he was praised for his constructive and pragmatic approach. He is a Fellow of
the American College of Bankruptcy and served as its President and then as the Chair


                                             4
19-10843   Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51   Main Document       Pg
                                        38 of 40


of its Board of Directors. In 2014, UJA-Federation presented him with the Professor
Lawrence P. King Award, and in 2016, Catholic Renewal selected him as the recipient of
the St. Francis Service Award.

      Since retiring from Latham, Mr. Baker has concentrated on board-related work.
He currently serves as a director of Cumulus Media, Inc.; a member of the Board of
Managers of Enduro Resource Holdings LLC; a director of Toisa Limited; a director of
Toshiba Nuclear Energy Holdings (UK) Limited; a member of the Advisory Council of
the Hastings Center, a bio-ethics institute; a member of the Executive Committee of the
Bankruptcy and Reorganization Group of UJA-Federation; and a member of the
Conservation Board of Philipstown, NY.

      He holds an undergraduate degree from Harvard University and a J.D. from the
University of Houston Law Center, magna cum laude, and he served as Editor in Chief of
the Houston Law Review.

Anton Kolev, Co-Treasurer
       Anton Kolev is currently the Treasurer for the post-bankruptcy Lehman Estates.
Mr. Kolev is responsible for day-to-day treasury operations and cash flow/liquidity
management of the Estate. He overseas in-house trading activities and a third party
managed investment portfolio and manages the foreign currency-hedging program. Mr.
Kolev leads and manages the semi-annual distributions to unsecured creditors in
accordance with the Lehman Plan. Some of his other responsibilities include
supervising the accounts payable and payroll functions, negotiating third party and
intercompany financing agreements and manage banking relationships and various
special projects. Mr. Kolev joined LBHI in 2012.

      Prior to LBHI, Mr. Kolev spent more than seven years in management consulting
providing turnaround and restructuring advisory services to distressed and
underperforming companies. He most recently worked for AlixPartners where he
advised clients on financial and operational turnarounds and assumed various interim
management roles in treasury, FP&A and accounting. Prior to that, he was with KPMG
where he managed audit and transaction advisory engagement both in U.S. and
Europe.

      Mr. Kolev holds a B.A. in Business Administration from American University in
Bulgaria and a M.B.A. from New York University Stern School of Business.




                                           5
19-10843   Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51    Main Document      Pg
                                        39 of 40


                                      Exhibit M

                                        Payroll

                Pursuant to Local Bankruptcy Rule 1007-2((b)(1)-(2)(A) and (C), the
following provides the estimated amount of weekly payroll to the Debtors’ employees
(not including officers, directors and stockholders) and the estimated amount to be paid
to officers, directors, stockholders and financial and business consultants retained by
the Debtors for the 30-day period following the Petition Date).

                                     (in thousands)


Payments to Employees                                                                 $0


Payments to Officers, Directors and Stockholders                                    $25


Payments to Financial and Business Consultants                                     $240
19-10843   Doc 3    Filed 03/24/19   Entered 03/24/19 20:40:51     Main Document       Pg
                                        40 of 40


                                       Exhibit N

                     Cash Receipts and Disbursements, Net Cash
                   Gain or Loss, Unpaid Obligations and Receivables

              Pursuant to Local Rule 1007-2(b)(3), the following provides, for the 30-day
period following the commencement of these chapter 11 cases, the Debtors’ estimated
cash receipts and disbursements, net cash gain or loss, and obligations and receivables
expected to accrue that remain unpaid, other than professional fees.

                                      (in thousands)


                               Aurora Commercial Corp.


Cash Receipts                                                                          $0


Cash Disbursements                                                                  $385


Net Cash Gain                                                                          $0


Unpaid Obligations                                                                     $0


Unpaid Receivables                                                               $23,015



                               Aurora Loan Services LLC


Cash Receipts                                                                          $0


Cash Disbursements                                                                     $0


Net Cash Gain                                                                          $0


Unpaid Obligations                                                               $23,015


Unpaid Receivables                                                                     $0
